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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                           Case No. A-20-CV-433

 BOARD OF SECURITIES AND
 FINANCIAL SERVICES, and

 JOHN DOE, a/k/a Brian Vance,

                 Defendants.


                COMPLAINT FOR TEMPORARY RESTRAINING ORDER,
              PRELIMINARY INJUCTION, AND PERMANENT INJUNCTION

       For its Complaint against Defendants Board of Securities and Financial Services (the

“Board”) and John Doe (“Doe”), the United States alleges as follows:

                                        INTRODUCTION

       1.       The Defendants are engaged in and facilitating a predatory wire fraud scheme

through the website www.bsecfins.org.

       2.       The Board is a fictitious securities and financial services regulator. Doe is the

unknown person or persons who registered and maintains the Board’s website, controls the

Board’s activities, and communicates with potential victims of the fraud scheme.

       3.       Defendants’ website claims that the Board is responsible for “supervising,

managing, and implementing all federal securities laws” related to mergers and acquisition, and

states that its “mission” is to “protect investors and maintain integrity of the securities industry.”

The website invites investors to file complaints about issuers of securities and financial services
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companies, and suggests that “overseas financial services regulators” seek information from the

Board as part of their “licensing or registration processes.”

       4.       In fact, there is no federal or state regulatory entity known as the “Board of

Securities and Financial Services.” The services Defendants purport to offer are merely a ruse to

obtain personal information from unsuspecting victims in furtherance of an unlawful identity

theft scheme.

       5.       The United States seeks to prevent continuing and substantial injury to victims of

this fraudulent scheme by bringing this civil action under 18 U.S.C. § 1345 to enjoin Defendants’

ongoing wire fraud in violation of 18 U.S.C. § 1343.

                                 JURISDICTION AND VENUE

       6.       The Court has subject matter jurisdiction over this action under 18 U.S.C. § 1345

and 28 U.S.C. §§ 1331 and 1345.

       7.       This Court has personal jurisdiction over Defendants. Venue is proper in this

district under 28 U.S.C. § 1391(b), because a substantial part of the events or omissions giving

rise to the claim occurred in the Western District of Texas.

                                          THE PARTIES

       8.       Plaintiff is the United States of America.

       9.       Defendant Board of Securities and Financial Services is a fictitious securities and

financial services regulator that operates the website www.bsecfins.org. According to that

website, the Board is located at 601 Congress Avenue, Austin, Texas 78701. The Board’s

website lists two email addresses at which it can be contacted: inquiries@bsecfins.org and

compliance@bsecfins.org.




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       10.     Defendant John Doe, acting alone or in concert with others, is the unknown

person or persons who has formulated, directed, controlled, had the authority to control, or

participated in the acts and practices set forth in this Complaint. Upon information and belief,

“Brian Vance” is a pseudonym used by Doe in his dealings with potential victims, and is not the

real name of the individual or individuals responsible for the fraud scheme described herein.

                                    FRAUDULENT SCHEME

       11.     On April 21, 2019, Doe registered on behalf of the Board the website

www.bsecfins.org. Doe sought to hide his identity by registering the website through

WhoisGuard, a Panamanian entity that allows domain owners to use its information in place of

their own in public WHOIS databases.

       12.     On April 20, 2020, from a computer located in Austin, Texas, TSSB Investigator

Rani Sabban, an FBI Task Force Officer, visited the website www.bsecfins.org. Investigator

Sabban observed that the website makes a number of statements intended to deceive potential

victims, including the following:

               a.     The Board’s “major policy consists of supervising, managing and

       implementing all federal securities laws which are related to Mergers and Acquisitions.”

               b.     The Board was “established to promote investor confidence in the

       securities and capital markets by providing more structure and government oversight.”

               c.     The Board’s “mission . . . is to protect investors and maintain integrity of

       the securities industry, overseeing major participants in the industry, including stock

       exchanges, broker-dealers, investment advisors, mutual funds, and public utility holding

       companies.”




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                d.      The Board fulfills its mission by “promoting disclosure of important

        information, enforcing securities laws, and protecting investors who interact with these

        various organizations and individuals.”

        13.     The claims made on Defendants’ website are false and fraudulent. Defendants

know that the Board is not a securities and financial services regulator, that it does not provide

oversight or supervision of any kind, that it does not protect investors or maintain the integrity of

the securities industry, and that it does not enforce any securities laws.

        14.     The Board’s website contains a link inviting individuals to “File a Complaint” by

providing their name, company, address, phone number, and email address, along with the

identity of the entity that is the subject of their complaint.

        15.     In April 2020, an individual located in Australia contacted the Texas State

Securities Board (“TSSB”) regarding www.bsecfins.org. This individual informed the TSSB

that he had filed a complaint through the website regarding an investment previously made with

a company in the United States. Doe then contacted the individual via email from the email

address brian.vance@bsecfins.org.

        16.     In his email, Doe claimed to be a United States regulator engaged in verifying

information regarding the company that was the subject of the individual’s complaint. Doe

stated that in order to “receive . . . compensation” and be assigned a “dedicated Account

Manager,” the individual would need to register with the Board and with an escrow company.

Doe attached a “Registration Form” and “Account Registration Form” to his email.

        17.     The Registration Form asks for, among other information, the potential victim’s

date of birth, marital status, and a copy of his or her valid ID and a recent utility bill. The




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Account Registration Form requests, among other information, the potential victim’s banking

information, including his or her account number.

       18.     The statements made by Doe in his follow-up email communications with

potential victims, including the individual from Australia referenced above, are false and

fraudulent. The Defendants know that they do not conduct any investigation or verification of

the information in a complaint submitted through their website, that the personal information

they seek to obtain is not used in connection with any such investigation, and that neither they

nor the fictitious escrow company referenced in their emails will deposit funds into the bank

accounts of the individual who submitted the complaint.

       19.     On April 20, 2020, Investigator Sabban called a telephone number provided in the

email that Doe sent to the individual located in Australia referenced above. Doe identified

himself as “Brian Vance,” represented that he was affiliated with the Board, and claimed to be

located in Austin, Texas. When Investigator Sabban revealed his affiliation with the TSSB, Doe

terminated the call.

       20.     The claims made on Defendants’ website and in their email and telephone

communications with potential victims are intended solely to further Defendants’ unlawful

identity theft scheme.

       21.     Victims suffer identity theft and financial losses from the fraud scheme engaged

in and facilitated by Defendants.

       22.     Absent injunctive relief by this Court, Defendants’ conduct will continue to cause

injury to victims.




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                                          COUNT ONE
                                         18 U.S.C. § 1345

       23.     The United States re-alleges and incorporates each of the preceding paragraphs as

though fully set forth herein.

       24.     By reason of the conduct described herein, Defendants have violated, are

violating, and are about to violate 18 U.S.C. § 1343 by engaging in and facilitating a scheme and

artifice to defraud and obtain money or property by means of false or fraudulent representations

with the intent to defraud, and, in so doing, use interstate or foreign wire communications.

       25.     Upon a showing that Defendants are committing or about to commit a violation of

18 U.S.C. § 1343, the United States is entitled, under 18 U.S.C. § 1345, to seek a temporary

restraining order, a preliminary injunction, and a permanent injunction restraining all future

fraudulent conduct. The Court may also grant such other relief it deems just and proper to

prevent a continuing and substantial injury to victims of the fraud scheme.

       26.     As a result of the foregoing, the Court should enjoin Defendants’ conduct under

18 U.S.C. § 1345.

                                     PRAYER FOR RELIEF

       WHEREFORE, the United States requests judgment in its favor and against the

Defendants, including the following relief:

       A.      That the Court issue an order, pursuant to 18 U.S.C. § 1345, pending a hearing

and determination of the United States’ application for a preliminary injunction, that Defendants,

their agents, officers, and employees, and all other persons or entities in active concert or

participation with them, are temporarily restrained from committing wire fraud, as defined by 18

U.S.C. § 1343; from holding themselves out as a federal, state, or local regulator; and from

maintaining and doing business through the use of the domain www.bsecfins.org.


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       B.      That the Court issue a preliminary injunction, pursuant to 18 U.S.C. § 1345, on

the same basis and to the same effect;

       C.      That the Court issue a permanent injunction, pursuant to 18 U.S.C. § 1345, on the

same basis and to the same effect;

       D.      All such further relief as may be just and proper.

 Dated: April 23, 2020                       Respectfully submitted,

                                             JOHN F. BASH
                                             United States Attorney

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